          Case 1:18-cv-01389-CKK Document 22 Filed 01/28/19 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

DAVID L. SNYDER, in his capacity      )
as counsel for Andrew G. McCabe,      )
                                      )
                  Plaintiff,          )
      v.                              )                  No. 1:18-cv-1389-CKK
                                      )
U.S. DEPARTMENT OF JUSTICE, et al.,   )
                                      )
                  Defendants.         )
_____________________________________ )


       NOTICE TO THE COURT OF RESTORATION OF APPROPRIATIONS

       On January 2, 2019, this Court granted Defendants’ motion for a stay of all proceedings

in the above-captioned case commensurate with the duration of the lapse of appropriations for

the Department of Justice. As of January 25, 2019, funding was restored through February 15,

2019, for the Department of Justice, and the Department has now resumed its usual civil

litigation functions. In its January 2, 2019 Minute Order, the Court instructed the parties to “file

their Joint Status Report three business days after the day on which Congress restores

appropriations to the Department of Justice.” Pursuant to the Court’s order, the Joint Status

Report will be filed on or before January 30, 2019.




                                                 1
        Case 1:18-cv-01389-CKK Document 22 Filed 01/28/19 Page 2 of 2



Date: January 28, 2019                Respectfully submitted,

                                      JOSEPH H. HUNT
                                      Assistant Attorney General

                                      MARCIA BERMAN
                                      Assistant Branch Director

                                        s/ Justin M. Sandberg
                                      JUSTIN M. SANDBERG (Ill. Bar. No.
                                      6278377)
                                      Senior Trial Counsel
                                      GARRETT COYLE
                                      Trial Attorney
                                      U.S. Department of Justice
                                      Civil Division, Federal Programs Branch
                                      20 Massachusetts Avenue N.W.
                                      Washington, D.C. 20530
                                      Tel.: (202) 514-5838
                                      Fax: (202) 616-8202
                                      Email: justin.sandberg@usdoj.gov

                                     Counsel for Defendants




                                      2
